Case 15-53700-wlh       Doc 399     Filed 06/22/22 Entered 06/22/22 09:56:45         Desc Main
                                   Document      Page 1 of 5




   IT IS ORDERED as set forth below:



   Date: June 21, 2022

                                            _____________________________________
                                                       Wendy L. Hagenau
                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :          CHAPTER 7
                                                :
BRENDA KAY ROBERTSON,                           :          CASE NO. 15-53700-WLH
                                                :
         Debtor.                                :
                                                :


   ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
 COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                 PROFESSIONALS OF THE TRUSTEE

         On May 18, 2022, the Chapter 7 Trustee (“Trustee”) filed final applications for payment

of compensation in the amount of $4,042.60 and expenses in the amount of $168.89 to the

Chapter 7 Trustee [Doc. No. 395-1]; compensation in the amount of $50,000.00 ($39,468.50 for

the period from April 7, 2015 through December 31, 2019 and $10,531.50 for the period from

January 1, 2020 through and after January 12, 2022) and expenses in the amount of $2,837.65

($2,657.65 for the period from April 7, 2015 through December 31, 2019 and $180.00 for the

period from January 1, 2020 through and after January 12, 2022) to Arnall Golden Gregory LLP,




18300929v1
Case 15-53700-wlh        Doc 399     Filed 06/22/22 Entered 06/22/22 09:56:45             Desc Main
                                    Document      Page 2 of 5



Trustee’s counsel [Doc. No. 395-2]; and compensation in the amount of $6,270.00 and expenses

in the amount of $241.37 to Hays Financial Consulting, LLC, Trustee’s accountants [Doc. No.

395-3] (collectively, the “Fee Applications”).         In addition, in the Fee Applications, the

applicants requested that the fee and expense awards granted in the prior order of this Court

[Doc. No. 384] (the “Interim Fee Order”) be made final.

         On May 19, 2022, Trustee filed a notice [Doc. No. 396] (the “Notice”) of the Fee

Applications and Trustee’s Final Report (the “Final Report”), setting the Final Report and Fee

Applications for hearing on June 16, 2022 (the “Hearing”).

         Trustee certifies that he served the Notice on all creditors and parties in interest entitled

to notice. [Doc. No. 396-1].

         On June 14, 2022, BlueAsh Group, LLC (“BlueAsh”), a creditor of the Bankruptcy

Estate, filed an objection [Doc. No. 397] (the “Objection”) to the final fee application of Arnall

Golden Gregory LLP [Doc. No. 395-2].

         No other party in interest filed a response in opposition to the relief requested in the Fee

Applications or the Final Report.

         Counsel for Trustee and for Trustee’s professionals and counsel for BlueAsh appeared at

Hearing. No other creditors or other parties in interest appeared.

         At the Hearing, counsel for Trustee and counsel for BlueAsh requested additional time to

discuss the Objection.

         AGG and BlueAsh have reached an agreement (the “Agreement”) whereby the fees of

AGG will be reduced by $15,000.00 from $50,000.00 to $35,000.00.

         On June 21, 2022, Trustee filed an amendment to his Final Report (Trustee’s Proposed

Distribution – Exhibit D) to show that the fee reduction of AGG in the amount of $15,000.00




18300929v1
Case 15-53700-wlh       Doc 399     Filed 06/22/22 Entered 06/22/22 09:56:45             Desc Main
                                   Document      Page 3 of 5



was being paid instead to non-priority, general unsecured claims, which will increase the

distribution to non-priority, general unsecured claims from $13,573.43 to $28,573.43. [Doc. No.

398].

         The services sought to be compensated in the Fee Applications have been evaluated

pursuant to 11 U.S.C. §§ 326 and 330. The compensation requested by Trustee is equal to the

statutory fee provided in 11 U.S.C. §326 and appears reasonable under the circumstances. The

compensation of Trustee’s professionals, as reduced, is reasonable under the circumstances.

Under the principles set forth in Norman v. Housing Authority of City of Montgomery, 836 F.2d

1292 (11th Cir. 1988), and this Court’s knowledge of prevailing market rates and an evaluation

of the skill, experience, and reputation of the professional applicants, the hourly rates, which they

seek to charge, are reasonable. Review of the professionals’ Fee Applications shows the hours

expended were reasonable. The Court further finds that the expenses, for which reimbursement is

sought, were reasonable and necessary in rendering the services. No factors are present in this

case that require additional reduction or enhancement of the lodestar. Accordingly, based on the

foregoing and the Agreement between AGG and BlueAsh, and, for good cause shown, it is

hereby

         ORDERED that the Fee Applications and Final Report, as amended, are APPROVED

and this approval is made final and that the Objection is SUSTAINED in part and

OVERRULED in part, as expressly set forth herein. It is further

         ORDERED that fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:

               Applicant                   Docket         Fees       Expenses           Total
                                            No.
 S. Gregory Hays, Chapter 7 Trustee        395-1        $4,042.60      $168.89           $4,211.49



18300929v1
Case 15-53700-wlh       Doc 399      Filed 06/22/22 Entered 06/22/22 09:56:45          Desc Main
                                    Document      Page 4 of 5



 Arnall Golden Gregory LLP,               395-2      $35,000.00 $2,837.65          $37,837.65
 attorneys for Trustee
 Hays Financial Consulting, LLC,          395-3       $6,270.00     $241.37            $6,511.37
 accountants for Trustee

It is further

         ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as outlined in the Final

Report. It is further

         ORDERED that the prior fee and expense awards granted in the Interim Fee Order are

hereby made final.

                                     [END OF DOCUMENT]


Order prepared and consented to by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Order consented to by:

ROGERS LAW OFFICES
Attorneys for BlueAsh

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18300929v1
Case 15-53700-wlh      Doc 399     Filed 06/22/22 Entered 06/22/22 09:56:45            Desc Main
                                  Document      Page 5 of 5




Identification of parties to be served:

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